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                              AFFIDAVIT OF SANDRA L. BABCOCK

            I, Sandra Babcock, state and declare as follows:
         1. My name is Sandra Babcock.          I am a Clinical Professor at Cornell
            University Law School, where I teach a legal clinic on international human
            rights.    I am an attorney licensed to practice in the states of Texas and
            Minnesota, the United States Court of Appeals for the Fifth Circuit, and the
           United States Supreme Court. I received my J.D. from Harvard Law School
            in 1991.
        2. A substantial part of my teaching and scholarship is devoted to the study of
           the application of international norms in U.S. death penalty cases. I have
           taught courses on international law and the death penalty at Northwestern
           Law School and at Tulane University Law School's summer program in
           Amsterdam. I am the founder and director of Death Penalty Worldwide, a
           publicly available database that tracks developments in the laws and practice
           of capital punishment in ninety-three countries and territories around the
           world, available at www.deathpenaltyworldwide.org. I have also published
           several articles regarding the intersection of human rights norms and the
           death penalty, including The Mandatory Death Penalty in Malawi:          The
            Unrealized Promise of Kafantayeni, with Ellen Wight, in Peter Hodgkinson
           and Kerry Ann Akers, THE LIBRARY OF ESSAYS ON CAPITAL PUNISHMENT
           (Ashgate 2014); The Limits ofInternational Law: Efforts to Enforce Rulings
           of the International Court of Justice in U.S. Death Penalty Cases, 62
           SYRACUSE L. REV. 183 (2012); International Standards on the Death
           Penalty, 28 THOMAS M. COOLEY L. REV. 103 (2011); Human Rights
           Advocacy in United States Capital Cases, in THE CONTEMPORARY HUMAN
           RIGHTS MOVEMENT IN THE UNITED STATES (2007); The Global Debate on


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            the Death Penalty, in American Bar Association, Human Rights (Spring
            2007); The Growing Influence of International Tribunals, Foreign
            Governments and Human Rights Perspectives in United States Death
            Penalty Cases, in Center for Capital Punishment Studies, Occasional Papers
            vol. 2 (August 2005); The Role of International Law in United States Death
            Penalty Cases, 15 Leiden J. Int' 1 Law (2002); and L 'application du droit
            international dans les executions capitals aux Etats-Unis: de la theorie a la
           pratique, in La peine capitale et le droit international des droits de l'homme,
            Universite Pantheon-Assas (Paris II) (2003).
        3. I have been licensed to practice law in Texas since 1992. I worked at the
            Texas Resource Center, a non-profit organization established to defend
            individuals facing the death penalty in that state, from 1991 to 1995. In
            1992, I became the first attorney in the United States to challenge the state's
            failure to comply with Article 36 of the Vienna Convention on Consular
            Relations ("Vienna Convention"), in a capital case out of Angelina County,
            Texas (Faulder v. Johnson). Later that year, I raised a Vienna Convention
            claim in a Harris County case involving Mexican national Ricardo Aldape
            Guerra. After leaving the Resource Center, I continued to serve as counsel
            in numerous death penalty cases in Texas, most of which involved foreign
           nationals facing the death penalty. I litigated Vienna Convention claims in
           the Fifth Circuit Court of Appeals, the U.S. Supreme Court, the Inter-
           American Commission on Human Rights, and the Inter-American Court on
           Human Rights.      From 2000 to 2006, I was the Director of the Mexican
           Capital Legal Assistance Program (MCLAP), a program established by the
           Mexican Foreign Ministry to defend the rights of Mexican nationals facing
           capital punishment in the United States. I represented Mexico before the
           International Court of Justice in Avena and Other Mexican Nationals (Mex.

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            v. U.S.), 2004 I.CJ. 12 (Mar. 31), involving violations of the Vienna
            Convention in the cases of 51 Mexican nationals sentenced to death in the
            United States.
        4. Since 1992, I have personally represented at least 10 foreign nationals facing
           the death penalty in the United States, including the petitioner in Medellin v.
            Texas, 552 U.S. 491 (2008). I have consulted with attorneys representing
            foreign nationals facing the death penalty in at least one hundred cases. I
           have been invited to speak at multiple national conferences and training
            seminars for capital defense attorneys regarding the representation of foreign
           nationals facing the death penalty. I estimate that I have given at least thirty
            lectures on this topic over the last twenty years. I have also trained consular
           officials from Europe and Mexico regarding best practices in consular
           assistance. I have argued cases involving violations of Article 36 of the
           Vienna Convention in the Texas Court of Criminal Appeals as well as the
            Supreme Courts of California, Minnesota, Nevada, and New Mexico. I have
           testified as an expert on the application of the Vienna Convention in death
           penalty cases in the state courts of California, Oklahoma and Georgia.
        5. My C.V. is attached to this affidavit.
        6. I have been asked by current post-conviction counsel for Obel Cruz Garcia,
           the Office of Capital Writs (OCW), to review various documents relating to
           Mr. Cruz Garcia's capital murder prosecution in the 337th District Court of
           Harris County, Texas.      Specifically, counsel has asked me to render an
           opinion on the prevailing standard of care in Texas in 2011-2013 for capital
           trial counsel representing a non-national client.
        7. The list of materials I have reviewed includes: (1) Supplemental police
           report authored by E.S. Mehl on October 8, 2008; (2) Order by the 262nd
           District Court dated February 2, 2010 finding probable cause to detain Mr.

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            Cruz Garcia; (3) Notice to Defendant of State's Intent to Use Extraneous
            Offenses and Prior Conviction; and (4) a copy of Mr. Cruz Garcia's passport
            issued by the Dominican Republic.
        8. In my opinion, and based on my review of the records provided, counsel
           knew that their client was from the Dominican Republic. Under the ABA
            Guidelines for the Appointment and Performance of Defense Counsel in
           Death Penalty Cases and prevailing Texas practice, competent defense
            counsel would have notified Mr. Cruz Garcia of his rights under Article 36
            of the Vienna Convention. After obtaining Mr. Cruz Garcia's consent, they
           would have notified consular officials of his detention and sought assistance
           from the consulate. If Mr. Cruz Garcia's trial counsel failed to take these
            actions, that failure was objectively unreasonable.


           Evidence of Mr. Cruz Garcia's Foreign Nationality
        9. Several documents confirm Mr. Cruz Garcia's foreign nationality, and all of
           these would have been available to counsel well before the start of Mr. Cruz
           Garcia's capital murder trial. On Febrary 12, 2010, the 262nd District Court
           of Harris County issued an Order finding probable cause to detain Mr. Cruz
           Garcia. The Order indicates that Mr. Cruz Garcia is a foreign national,
           although it incorrectly identifies him as a national of Dominica-a
           Caribbean island in the Lesser Antilles. The order also indicates that Mr.
           Cruz Garcia required an interpreter-another indicia of foreign nationality.
           A supplemental police report drafted by Officer E.S. Mehl on October 8,
           2008 identifies Mr. Cruz Garcia as a national of the Dominican Republic.
           Finally, on June 19, 2013, the prosecution filed a Notice to Defendant of
           State's Intent to Use Extraneous Offenses and Prior Conviction. This notice
           indicates that "[t]he defendant is a citizen of the Dominican Republic who


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            entered the United States as well as the Commonwealth of Puerto Rico on
            multiple occasions since the late 1980s illegally and remained in both
            locations for periods of time as an undocumented alien."


            Standard of Practice in Texas Capital Cases Involving Foreign
            Nationals
         10. The starting point for any inquiry into the reasonableness and quality of
            legal representation in a capital case is the American Bar Association's
            "Guidelines for the Appointment and Performance of Defense Counsel in
            Death Penalty Cases." The United States Supreme Court has observed that
           the ABA Guidelines establish the "prevailing norms of practice" that serve
           to measure counsel's performance. Wiggins v. Smith, 539 U.S. 510, 522-24
            (2003) (finding counsel ineffective for failing to investigate defendant's
           background).    The 2003 ABA Guidelines specifically address counsel's
            obligations when representing a foreign national client facing the death
           penalty. Guideline 10.6 unequivocally states that counsel should advise a
           foreign national client of her right to communicate with consular officials.
           Guideline 10.6 further advises counsel to seek and obtain a foreign national
           client's consent to contact consular officials, and to follow through by
           informing the consular office of her client's detention. Guideline 10.6 reads:


                      GUIDELINE 10.6--ADDITIONAL OBLIGATIONS OF
                      COUNSEL REPRESENTING A FOREIGN NATIONAL

                  A. Counsel at every stage of the case should make appropriate
                     efforts to determine whether any foreign country might
                     consider the client to be one of its nationals.




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                  B. Unless predecessor counsel has already done so, counsel
                     representing a foreign national should:

                      1. immediately advise the client of his or her right to
                      communicate with the relevant consular office; and

                      2. obtain the consent of the client to contact the consular office.
                      After obtaining consent, counsel should immediately contact
                      the client's consular office and inform it of the client's
                      detention or arrest.

                            a. Counsel who is unable to obtain consent should
                               exercise his or her best professional judgment under
                               the circumstances.

            11.In 2006, the Texas State Bar adopted Guideline 10.6 (B) in its Guidelines
               for Death Penalty Representation ("SBOT Guidelines"). 1                    SBOT
               Guideline 10.3 reads as follows:
                  GUIDELINE 10.3 Additional                  Obligations      of   Counsel
                  Representing a Foreign National

                  A. Counsel at every stage of the case should make appropriate
                  efforts to determine whether any foreign country might consider
                  the client to be one of its nationals.

                  B. Counsel representing a foreign national should:

                  1. Immediately determine if the client's ability to communicate
                  with counsel, in English, is sufficient to allow counsel and the
                  client to adequately communicate. Counsel must recognize that
                  some foreign nationals speak in dialects of which counsel may be
                  unfamiliar, resulting in unintended miscommunication.



           1
            The Texas Court of Criminal Appeals has cited the SBOT Guidelines in assessing the
           prevailing standard of practice in Texas. See, e.g., Exparte Van Alstyne, 239 S.W.3d
           815, 822 {Tex. Crim. App. 2007); Ex Parte Medina, 361 S.W. 3d 633 {Tex. Crim. App.
           2011).


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                  2. If there are any language conflicts, counsel should immediately
                  request the court to appoint an appropriate interpreter to assist the
                  defense in all stages of the proceeding, or counsel may request
                  permission to withdraw due to language problems. It is highly
                  recommended that both lead and associate counsel have adequate
                  communication with the defendant, rather than just one of counsel.

                  3. Immediately advise the client of his or her right to communicate
                  with the relevant consular office; and

                  4. Obtain the consent of the client to contact the consular office.
                  After obtaining consent, counsel should immediately contact the
                  clienes consular office and inform it of the client's detention or
                  arrest. Counsel who is unable to obtain consent should exercise
                  his or her best professional judgment under the circumstances.

            12. The duties outlined in the ABA and SBOT guidelines stem from Article
               36 of the Vienna Convention on Consular Relations.              Article 36(b)
               imposes an obligation on state authorities to advise a detained foreign
               national of his right to have the consulate notified of his detention.
               Article 36 (a) and (b) further provide that detained foreign nationals have
               the right to communicate with consular officials. Article 36 (c) of the
               Vienna Convention on Consular Relations confers rights on consular
               officers to visit their nationals and arrange for their legal representation.
            13. The rights set forth in Article 36, and counsel's corresponding duties
               under the ABA and SBOT Guidelines, are no mere formality.                  The
               Commentary to Guideline 10.6 offers a useful explanation of the range of
               services that consular officials can provide:
                  As a practical matter, consuls are empowered to arrange for their
                  nationals' legal representation and to provide a wide range of
                  other services. These include, to name a few, enlisting the
                  diplomatic assistance of their country to communicate with the
                  State Department and international and domestic tribunals (e.g.,
                  through amicus briefs), assisting in investigations abroad,

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                  providing culturally appropriate resources to explain the American
                  legal system, and arranging for contact with families and other
                  supportive individuals. As a legal matter, a breach of the
                  obligations of the Vienna Convention or a bilateral consular
                  convention may well give rise to a claim on behalf of the client.

            American Bar Association, Standards for the Appointment and Performance
            of Defense Counsel in Death Penalty Cases, February, 2003 ( footnotes
            omitted).
        14.Consular involvement can literally make the difference between life and
            death in capital cases-even those involving highly aggravated crimes.
           Accordingly, the Commentary to the ABA Guidelines observes that
            "[e]nlisting the consulate's support after obtaining the client's consent to do
            so should therefore be viewed by counsel as an important element in
            defending a foreign national at any stage of a death penalty case." Both the
           ABA and SBOT Guidelines highlight the importance of counsel's duties in
           this regard by insisting that counsel should immediately notify her client of
           the right to consular notification and communication, and should
            immediately notify the consulate once the client's consent has been obtained.
        15. The assistance provided by consular officials varies from case to case. I
           have been involved in at least two dozen cases in which consular officials
           have interceded with prosecutors prior to trial to persuade them not to seek
           the death penalty. In most of these cases, the prosecution decided to waive
           the death penalty in exchange for a guilty plea. In other cases, consular
           officials have been instrumental in obtaining mitigating evidence from the
           national' s home country that has a decisive impact on the penalty phase
           defense. Consular officials have also recruited legal counsel to represent
           foreign nationals facing the death penalty where trial counsel lacks the
           requisite experience or competence to defend a capital case.

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         16.Numerous courts have recognized the significance of consular assistance in
            capital prosecutions and have found trial attorneys ineffective for failing to
            inform foreign national clients of their consular rights. More than a decade
            ago, the Oklahoma Court of Criminal Appeals acknowledged the
            "significance and importance" of consular assistance in the case of a
            Mexican national, and declared:
                  It is evident from the record before this Court that the Government
                  of Mexico would have intervened in the case, assisted with
                  Petitionees defense, and provided resources to ensure that he
                  received a fair trial and sentencing hearing ... We believe trial
                  counsel, as well as representatives of the State who had contact
                  with Petitioner prior to trial and knew he was a citizen of Mexico,
                  failed in their duties to inform Petitioner of his right to contact his
                  consulate.

            Valdez v. State, 46 P.3d 703, 710 (Okla. Crim. App. 2002). In 2007, the
           Oklahoma Court of Criminal Appeals found trial counsel ineffective for
           failing to present mitigating evidence that they could have obtained with the
           assistance of lawyers working with the Mexican consulate.               Marquez
           Burrola v. State, 157 P.3d 749, 766 n.20 (Okla. Crim. App. 2007).
        17.As the above discussion makes clear, Mr. Cruz Garcia's defense team should
           have been aware of their obligations to advise him of his right to seek
           consular assistance.     They should likewise have been aware of their
           corresponding obligation to advise the consulate of his detention. It seems
           highly likely that Mr. Cruz Garcia would have consented, given that he
           requested that his consulate be notified of his detention during his probable
           cause hearing on February 12, 2010. By August 2011, when trial counsel
           was appointed to represent Mr. Cruz Garcia, it was standard practice for
           Texas capital defense attorneys to seek the assistance of consular officials
           when representing a foreign national.


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         18.In 2008, the U.S. Court of Appeals for the Seventh Circuit found trial
            counsel had rendered deficient performance by failing to notify his foreign
            national client of his consular rights and by failing to raise the issue in court.
            Osagiede v. United States, 543 F. 3d 399 (7th Cir. 2008). In support of its
            conclusion, the court cited Illinois state guidelines that had adopted language
            similar to SBOT Guideline 10.3, and held that "[p]revailing norms of
           practice as reflected in American Bar Association standards and the like ...
            are guides to determining what is reasonable." Id. at 411 (citing Strickland
            v. Washington, 466 U.S. 668 (1984)).           It noted that Vienna Convention
            claims had been the subject of litigation in several high profile cases leading
           to widespread local and national media coverage. 2 Id. The court concluded
           that "[i]n this climate, we believe that Illinois criminal defense attorneys
           representing a foreign national in 2003 should have known to advise their
            clients of the right to consular access and to raise the issue with the presiding
           judge." Id.
        19.lt is inconceivable that a Texas capital defense lawyer in 2011 could be
           unaware of his obligations to facilitate a foreign national client's exercise of
           his consular rights. Whether counsel's failure to fulfill their duties derived
           from ignorance or inattentiveness matters little; in either case, their
           performance fell well below an objective standard of reasonableness when
                                 \
           measured against prevailing professional norms.
        20.1 have read and reviewed this eleven-page affidavit.


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            The same is true in Texas. See, e.g., Bill Mears, Mexican National Executed in Texas,
           CNN, July 7, 2011; Allen Turner and Rosanna Ruiz, Medellin Executedfor Rape,
           Murder ofHouston Teens, HOUST. CHRON., Aug. 5, 2008; Ginger Thompson, An
           Execution in Texas Strains Ties With Mexico and Others, N.Y. TIMES, August 16, 2002,
           at A6; Appeals Court Clears Way for Canadian 's Execution in Texas, CNN, Dec, 10,
           1998.


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            I declare under penalty of perjury under the laws of the State of New York
            that the foregoing is true and correct to the best of my knowledge and that
            this affidavit was executed on the a~of August, 2015 in Ithaca, New
            York.




            Subscribed and sworn before me this \ 2+h     of   ~~ \l$ :\
            2015, in Ithaca, New York.



                                                                           ERl~J. RUSSELL
                                                                     Notary Public- State of New Yolk
                                                                           No. 01RU8287379
                                                                       Qua\lft~ In Chemung County
                                                                  My CommrSS1on Expires August 05, 2017




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                                       SANDRA L. BABCOCK
                                          Cornell Law School
                                         148 Myron Taylor Hall
                                           Ithaca, NY 14853
                                           Tel. 607-255-5278
                                          slb348@cornell.edu

                                             March 18, 2015


  TEACHING            Clinical Professor, Cornell Law School                                  2014-present
                      Teach clinical courses on international human rights. Supervise students on wide
                      variety of human rights projects, including litigation before international tribunals,
                      advocacy before UN bodies, prisoners’ rights work in Malawi, capital defense work
                      in the United States, and human rights advocacy in a variety of other countries.
                      Represent Mexican nationals facing execution and advise the Government of
                      Mexico regarding the defense of Mexican nationals on death row within the United
                      States.

                      Fulbright-Toqueville Distinguished Chair, Université de Caen                Fall 2014
                      First clinical professor awarded the top Fulbright fellowship in France, for a project
                      involving the comparative study of clinical legal education in France and the
                      United States.       Taught international human rights clinic and seminar on
                      international gender rights to French masters students. Gave series of lectures on
                      human rights and clinical education.

                      Clinical Professor, Center for International Human Rights, Northwestern
                      University Law School                                                   2006-2014
                      Taught clinical course on human rights advocacy as well as doctrinal classes in the
                      field of human rights. Recipient of Dean’s Teaching Award.

                      Tulane Law School/University of Amsterdam                              2004-2012
                      Amsterdam, The Netherlands
                      Taught courses on international women’s rights and international law and the death
                      penalty

                      University of Addis Ababa, Ethiopia                                       Dec. 2008
                      Taught course on gender and international human rights


  EXPERIENCE          Reprieve (London)                                                Sept – Dec. 2012
                      Senior Fellow
                      Consultant to international team of lawyers providing legal assistance to prisoners
                      facing the death penalty.

                      Mexican Capital Legal Assistance Program                            2000-2006
                      Director
                      Directed a national program funded by Mexico to assist Mexican nationals facing
                      capital punishment in the United States. Advised the Mexican Foreign Ministry

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                      and Mexican consular officers in the U.S., supervised the work of 14 attorneys,
                      consulted with trial and post-conviction attorneys, experts and investigators, met
                      with diplomats and consular officials, organized training seminars for consular
                      officials and defense attorneys, negotiated with prosecutors, and represented the
                      Government of Mexico in state and federal courts around the United States.
                      Counsel for the Government of Mexico in litigation on behalf of 54 Mexican
                      nationals before the International Court of Justice in Avena And Other Mexican
                      Nationals (Mex. v. U.S.).

                      Hennepin County Public Defender                                     1995-1999
                      Minneapolis, MN
                      Assistant Public Defender
                      Trial lawyer. Represented criminal defendants in state court facing felony and
                      misdemeanor charges.

                      Texas Capital Resource Center                                            1991-1995
                      Austin, TX
                      Supervising Attorney
                      Litigated capital cases in state and federal habeas corpus proceedings. Represented
                      four foreign nationals under sentence of death; conducted investigation in Mexico,
                      Vietnam, and Canada; and worked closely with government officials to enlist their
                      support of foreign citizens on death row. Wrote briefs, habeas corpus petitions, and
                      petitions for writ of certiorari, often under the pressure of an imminent execution
                      date. Conducted evidentiary hearings, investigated guilt and punishment phases of
                      capital cases, and argued before the United States Court of Appeals for the Fifth
                      Circuit.

  EDUCATION           Harvard Law School, J.D., June 1991
                            CIVIL RIGHTS/CIVIL LIBERTIES LAW REVIEW, Executive Editor
                            Harvard Human Rights Program

                      Johns Hopkins University, B.A. in International Relations, June 1986
                            Phi Beta Kappa
                            Harry S. Truman Fellow
                            Watson Fellow

                      Bologna Center, Johns Hopkins School of Advanced International Studies,
                      1984-1985

  HONORS AND          Awarded the Cesare Beccaria medal by the International Society of Social Defense
  AWARDS              and Humane Criminal Policy for my commitment to the defense of individuals
                      facing the death penalty, Dec. 2009

                      Awarded the Aguila Azteca by the Government of Mexico, May 2003, for legal
                      assistance provided to Mexico and Mexican nationals facing the death penalty in
                      the United States. The Aguila Azteca is the highest honor bestowed by the
                      Government of Mexico upon citizens of foreign countries.

                      Minnesota Association of Criminal Defense Lawyers, Outstanding Legal
                      Achievement Award, February 25, 2006.



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                      Outstanding Legal Service Award, National Coalition to Abolish the Death
                      Penalty, October 2004.

                      Access to Justice Award, Minnesota Hispanic Bar Association, October 23, 2003.

                      Volunteer Award, Minnesota Advocates for Human Rights, June 2004.

                      1997 “Public Defender of the Year,” Hennepin County Public Defender’s Office.

                      Recognized as one of the outstanding criminal defense lawyers in the State of
                      Minnesota by Minnesota Law and Politics magazine for five consecutive years.

  PUBLICATIONS        Le droit international et la peine de mort: Dans le flou entre la théorie et la
                      pratique, in « Vers l’interdiction absolue de la peine de mort : perspectives
                      philosophiques et juridiques », Ecole Normale Supérieure, France (forthcoming
                      2015).

                      Death Penalty Worldwide, http://www.deathpenaltyworldwide.org/index-cihr.cfm.
                      The death penalty worldwide project includes a comprehensive database on the
                      laws and practices of 90 countries and two territories that continue to apply the
                      death penalty. It represents the first attempt by any academic institution to compile
                      this information and make it available to the public. Three years of research went
                      into the project, which also includes information on various topics of international
                      law and the death penalty. Financial support for the database was received from
                      the European Union, through the World Coalition Against the Death Penalty, as
                      well as the Proteus Action League. The database was launched in Strasbourg at the
                      Council of Europe on April 14, 2010, and is continually updated.

                      The Mandatory Death Penalty in Malawi: The Unrealized Promise of Kafantayeni,
                      with Ellen Wight, in Peter Hodgkinson and Kerry Ann Akers, THE LIBRARY OF
                      ESSAYS ON CAPITAL PUNISHMENT (Ashgate 2013).

                      The Limits of International Law: Efforts to Enforce Rulings of the International
                      Court of Justice in U.S. Death Penalty Cases, 62 SYRACUSE L. REV. 183 (2012).

                      International Standards on the Death Penalty, 28 THOMAS M. COOLEY L. REV. 103
                      (2011).

                      Human Rights Advocacy in United States Capital Cases, in THE CONTEMPORARY
                      HUMAN RIGHTS MOVEMENT IN THE UNITED STATES (2007).

                      The Global Debate on the Death Penalty, in AMERICAN BAR ASSOCIATION, HUMAN
                      RIGHTS, Spring 2007.

                      The Growing Influence of International Tribunals, Foreign Governments and
                      Human Rights Perspectives in United States Death Penalty Cases, in CENTER FOR
                      CAPITAL PUNISHMENT STUDIES, OCCASIONAL PAPERS vol. 2 (August 2005).

                      The Role of International Law in United States Death Penalty Cases, 15 LEIDEN J.
                      INT’L LAW (2002).



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                        L’application du droit international dans les executions capitals aux Etats-Unis:
                        de la théorie à la pratique, in LA PEINE CAPITALE ET LE DROIT INTERNATIONAL DES
                        DROITS DE L’HOMME, Université Panthéon-Assas (Paris II) (2003)(in English with
                        introduction in French).

                        Co-author, Namibia: Constructive Engagement and the Southern Africa Peace
                        Accords, 2 HARV. HUM. RTS. J. 149 (1989).

  GRANTS
  RECEIVED:             February 2013: Received grant in the amount of $4,000 from the Northwestern
                        Program of African Studies to research laws and practices of African states that
                        retain the death penalty.

                        September 2010-August 2012: Received three annual grants in the amount of
                        $10,000 (each) from the Proteus Action League for research relating to the Death
                        Penalty Worldwide database.

                        May 2012: Obtained a 3-year grant from the European Union in the amount of
                        $100,000 for ongoing research associated with the Death Penalty Worldwide
                        database.

                        September 2011: Received $4,000 from the French Embassy for ongoing research
                        associated with the Death Penalty Worldwide database and translation of database
                        into French

                        2010: European Union funded an independent researcher to assist me in completing
                        the Death Penalty Worldwide database in the amount of 50,400 euros

  LANGUAGES             Proficient in French and Spanish, conversational Italian and German

  RECENT LECTURES AND PRESENTATIONS (not a complete list):

  Speaker, “Foreign Nationals Facing Capital Punishment,” Expert meeting organized by the UN High
  Commissioner on Human Rights, Geneva, Switzerland, June 16, 2015.

  Moderator, “Framing the Issues—Women, Prison, and Gender-Based Violence,” 2015 Women and
  Justice Conference, Washington, D.C., April 15, 2015.

  Panelist, “Human Rights in Western Sahara: The Right to Self-Determination,” United Nations, Geneva,
  March 10, 2015.

  Speaker, “La peine de mort aux États-Unis,” University of Tours, Tours, France, December 4, 2014.

  Speaker, “Pourquoi la peine de mort survit-elle en Amérique ? Etats-Unis v Mexique,” Association
  France-Amériques, Paris, France, December 2, 2014.

  Leçon Inaugurale, “Cliniques juridiques, l’enseignement du droit et accès à la justice,” Inaugural lecture
  as Fulbright-Toqueville chair at Université de Caen, Basse-Normandie, November 19, 2014.

  Guest lecture, “Les cliniques juridiques aux États-Unis,” University of Paris-Nanterre, Paris, France,
  October 20, 2014.

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  Speaker, “Politique, morale et légalité de la peine de mort au XXIème siècle,” Caen Memorial (World
  War II Museum), Caen, France, October 8, 2014.

  Speaker, “Global Politics, Morality, and the Declining Use of the Death Penalty,” Illinois Wesleyan
  University, Feb. 6, 2014.

  Speaker, “Fair Trial and Due Process Guarantees in the Use of the Death Penalty,” Expert Seminar on
  Moving Away from the Death Penalty in Southeast Asia, Seminar with Southeast Asian Governments
  organized by the UN High Commissioner on Human Rights, Bangkok, Oct. 22-23, 2013.

  Speaker, “La nécessité de reviser les guaranties des roits des personnes passibles de la peine de mort,”
  (delivered in French), Ecole Normale Supérieure, Paris, Oct. 18, 2013.

  Speaker and Chair, “Legal Representation in Capital Cases,” Fifth World Congress Against the Death
  Penalty, Madrid, June 14, 2013.

  Closing speaker, “Contra las penas crueles e inhumanas y la pena de muerte,” Real Academia de Bellas
  Artes, Madrid, June 11, 2013.

  “Réflexions sur la peine de mort,” Speech delivered at the French Ministry of Foreign Affairs, Quai
  d’Orsay, Paris, on the occasion of World Day Against the Death Penalty, Oct. 9, 2012.

  “Methods of Execution as Cruel, Inhuman or Degrading Treatment or Punishment,” Presentation given at
  expert meeting with UN Special Rapporteurs on Torture and on Extrajudicial, Summary and Arbitrary
  Executions, June 26, 2012, Harvard Law School, Cambridge, MA.

  “The Death Penalty Worldwide: Prospects for Reform and Abolition,” Cornell Law School, April 13,
  2012.

  Speaker, “Le droit à la vie et la fourniture de substances létales,” and “Les resistances à la abolition de la
  peine capital”, at workshop hosted by the College de France, Paris, entitled “La protection international
  du droit à la vie: Mobiliser le système penal?”, Nov. 18, 2011.

  Speaker, “Estrategias de litigio en casos de pena de muerte,” Congreso Sobre Abolición Universal de la
  Pena de Muerte y Otros Tratos o Penas Cureles, Inhumanos o Degradantes, Law Faculty of the University
  of Buenos Aires, Sept. 21, 2011.

  Speaker, “Cross-Examination and Other Litigation Strategies in the U.S. Criminal Justice System,”
  Defensoría General de la Nación, Buenos Aires, Sept. 20, 2011.

  Panelist, L’iniezioine letale e la pena di morte,” Hands off Cain, Rome, Italy, Dec. 3, 2010.

  Speaker, “Reflecciones sobre la pena de muerte,” Academic Network Against the Death Penalty, Madrid,
  Spain, Oct. 4, 2010.

  Speaker, “Reflections on the Death Penalty,” 16th International Seminar of the Brazilian Institute of
  Criminal Sciences, Sao Paulo, Brazil, Aug. 26, 2010.

  Panelist, “Abolition of the Death Penalty,” 16th International Seminar of the Brazilian Institute of
  Criminal Sciences, Sao Paulo, Brazil, Aug. 27, 2010.

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  Panelist, “Author Meets Reader – The Next Frontier: National Development, Political change, and the
  Death Penalty in Asia,” Law and Society Association, Chicago, May 28, 2010.

  Panelist, “Innovative Models and Solutions: Reducing Prison Overcrowding through Paralegals and
  Other Programmes,” United Nations Office on Drugs and Crime 12th Quinquennial Congress, Salvador,
  Brazil, Apr. 15, 2010.

  Moderator, “Privatization of Prisons: Global Trends and the Growing Debate,” United Nations Office on
  Drugs and Crime 12th Quinquennial Congress, Salvador, Brazil, Apr. 14, 2010.

  Panelist, “Death Penalty: Abolition or Moratorium,” United Nations Office on Drugs and Crime 12th
  Quinquennial Congress, Salvador, Brazil, Apr. 13, 2010.

  Panelist, “Promoting Abolition Through Academic Research and Collaboration,” World Congress
  Against the Death Penalty, Geneva, Switzerland, Feb. 25, 2010.

  Panelist, “Conditions and Limits for International Legal Cooperation Regarding the Death Penalty,”
  Conference sponsored by the Centro de Estudios Políticos y Constitucionales, Madrid, Spain, Dec. 11,
  2010 (Presentation given in Spanish).

  Speaker, “International Legal Standards and the Death Penalty” and “Challenges in the Application of the
  Death Penalty: The U.S. Experience,” at seminar sponsored by the Moroccan Ministry of Justice and the
  Centre for Capital Punishment Studies, Rabat, Morocco, Oct. 5-7, 2009.

  Panelist, “Unfinished Business: Human Rights Treaties and the Obama Administration,” panel organized
  by the Journal of International Human Rights, Feb. 3, 2009.

  Panelist, “International Policy in the Obama Administration,” panel organized by Amnesty International
  and the International Law Society, Jan. 23, 2009.

  Panelist: “Retos para el Derecho Internacional post-Medellin y retos para el Estado Mexicano en espera
  de próximas ejecuciones,” Universidad Iberoamericana, October 30, 2008, Mexico City, Mexico.

  Presentation for Military Commissions Lawyers on “International Human Rights Law and the Military
  Commissions Act,” American Civil Liberties Union, September 29, 2008, New York, NY

  Panelist, “Relevance of the Use of the Inter-American System for the Protection of Human Rights”, at
  Conference entitled “The United States and the Inter-American Human Rights System, organized by
  Columbia University Law School and the Center for Justice and International Law, New York, NY, April
  7, 2008

  Panelist, “The Quest for International Justice,” at A Celebration of Public Interest, Harvard Law School,
  March 13-15, 2008.

  Speaker, “Client to Cause: locating our work, identifying the tensions, pedagogic opportunities and
  goals,” Annual Human Rights Clinicians Conference, March 1, 2008.

  Yale Law School, September 20, 2006, “Enforcing International Law in U.S. Death Penalty Cases: From
  The Hague to Houston.”



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  Keynote Speaker, Amnesty International Human Rights Awards Dinner, University of St. Thomas School
  of Law, April 19, 2006.

  “La Pena de Muerte en Estados Unidos,” Mexican Foreign Ministry, Instituto Matias Romero, lectures
  given to students in diplomatic academy in 2001, 2002, 2004, and 2005, Mexico City, México.

  “International Standards on the Death Penalty,” at the International Leadership Conference on the Death
  Penalty in Tokyo, Japan, Dec. 7, 2005.

  Keynote Speaker, NAACP Legal Defense Fund Annual Conference for Capital Defense Lawyers, Airlie,
  Virginia, July 23, 2004.

  Ford Foundation: “Close to Home: Human Rights and Social Justice Advocacy in the United States,”
  Panelist, “Human Rights and U.S. Law,” June 21, 2004, New York, New York.

  University of Westminster School of Law, London, October 14, 2003, “The Growing Influence of
  International Tribunals, Foreign Governments and Human Rights Perspectives in United States Death
  Penalty Cases.”

  Avocats San Frontières, “Del Proceso penal inquisitivo hacia el acusatorio,” Bogotá, Colombia, August 4,
  2003.

  Canadian Department of Foreign Affairs, “Transcending Barriers: 25th Anniversary of International
  Transfer of Offenders Program,” Presentation on Prisoner Exchange Treaties, Ottawa, Canada, May 23,
  2003.




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